ILND 450 (Rev.Case:    1:19-cv-01255
              04/29/2016)                     Document #: 168 Filed: 04/29/22 Page 1 of 1 PageID #:2021
                          Judgment in a Civil Action

                                   IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF ILLINOIS

    Krishna Narsimhan,

    Plaintiff(s),
                                                                  Case No. 1:19-cv-01255
    v.                                                            Judge Young B. Kim

    Lowe's Home Centers, LLC,

    Defendant(s).

                                            JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                           which      includes       pre–judgment interest.
                                      does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


              other: Jury returned its verdict in favor of Plaintiff and against Defendant in the amount of
$490,000.00 total.

This action was (check one):

         tried by a jury with Judge Young B. Kim presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge          on a motion



Date: 4/29/2022                                           Thomas G. Bruton, Clerk of Court

                                                          Erin Caswick , Deputy Clerk
